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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    NATIONAL TREASURY
    EMPLOYEES UNION, et al.,
                   Plaintiffs,
         v.

    RUSSELL VOUGHT, in his official capacity          Case No. 25-cv-381-ABJ
    as Acting Director of the Consumer Financial
    Protection Bureau, et al.,

                         Defendants.


                               DECLARATION OF GREER DOE
I, Greer Doe, declare:

          1.     I am a management official at the Consumer Financial Protection Bureau (CFPB).

The statements in this declaration are based on my personal knowledge. I am making this

declaration to offer a written record of what I have observed concerning the unprecedented,

ongoing stoppage of critical and statutorily required work by the CFPB up through today and to

respond to the incorrect suggestion in the Second Declaration of Adam Martinez that the Bureau

is ”perform[ing] each of CFPB’s critical statutory responsibilities.” ECF 47-1 ¶ 4. I make this

declaration pseudonymously out of concern for retaliation. If requested, I will share my name and

position ex parte and under seal.

          2.     The Consumer Financial Protection Act of 2010, the part of the Dodd-Frank Act

that establishes the CFPB, mandates that the Bureau continuously carry out certain functions to

protect consumers and serve the public.1 Among other things, the CFPB is required to have a

consumer-complaint collection and response system and a public-facing website. See 12 U.S.C. §


1
 A partial list is available here: Statutory Requirements for Continuous Operation of the CFPB,
Feb. 13, 2025, https://protectborrowers.org/wp-content/uploads/2025/02/CFPB-Statutory-
Requirements-2.13.25.pdf (attached as Exhibit A)
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5493(b)(3). The CFPB is also required by statute to have specific named offices with key functions.

Among other things, the statute requires the Bureau to have an Office of Student Loan Ombudsman

(12 U.S.C. § 5535(a)), an Office of Servicemember Affairs (12 U.S.C. § 5493(e)(1)), an Office for

Older Americans (12 U.S.C. § 5493(f)(1)), an Office of Financial Education (12 U.S.C. §

5493(d)(1)), and an Office of Community Affairs (12 U.S.C. § 5493(b)(2))—all offices that must

provide specified services to consumers and other Bureau stakeholders, such as consumer groups

and state and local governments and federal government partners, on a timely basis.

       3.      Since Acting Director Vought’s work-stoppage directive on February 10, to the best

of my knowledge, no work has been done in the offices named above—and that remains true as of

today. This means that the Office of Service Member Affairs is not assisting military service

members, veterans, and their families. Nobody is performing the statutorily required complaint

monitoring function for service members and veterans who are entitled to our help when they are

scammed or defrauded, sometimes because they are deployed overseas or are otherwise rendered

vulnerable as a result of their service to the Nation. The Office of Older Americans is not providing

any services to older consumers who may be victims of elder abuse. The Student Loan

Ombudsman was terminated on February 13 without the naming of a replacement, which means

that people with student-loan problems cannot receive the timely assistance that the statute

requires. The Office of Financial Education and the Office of Community Affairs are likewise at

a standstill. As described in the declaration of Director of Digital Services Adam Scott, the CFPB’s

homepage—most Americans’ first point of contact with the CFPB—was deleted at the direction

of Acting Director Vought and remains down. And, as detailed in the declaration of Matthew Pfaff,

the Chief of Staff of the Office of Consumer Response, the CFPB’s consumer-complaint and

response system remains inoperable because of the work stoppage. For individual consumers;
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consumer groups and legal aid providers; federal, state, and local government partners; and other

CFPB stakeholders, the Bureau has gone dark.

       4.        On February 10, 2025, all CFPB employees—including myself—received an email

from Acting Director Vought directing all CFPB employees to “not perform any work tasks” and

to “stand down from performing any work tasks.” The February 10 email directed employees that,

“If there are any urgent matters, please alert me through Mark Paoletta, Chief Legal Officer, to get

approval in writing before performing any work task.” This February 10 email followed an earlier

email on February 8, 2025 from Acting Director Vought —also sent to all CFPB employees—

ordering a stoppage of CFPB work, “unless expressly approved by the Acting Director or required

by law.” This February 10 email prohibited “any work tasks” and did not include any exception

for work “required by law” and it directed all employees to otherwise “stand down from

performing any work tasks.” This lack of any exception for legally required work was widely noted

and implemented across the Bureau. Following the February 8 email, virtually all work stopped,

including statutorily required functions. Nobody believed they truly had authority to continue tasks

unless specifically authorized to do so by Vought. The Febraury 10 email then cemented this

understanding.

       5.        Acting Director Vought’s February 10 email was not ambiguous. Like my

colleagues in my office and across the Bureau, I interpreted the email as an express directive to

cease any and all work, regardless of whether it was required by statute. Other CFPB management

repeatedly expressed to me the same understanding.

       6.        Upon receipt of Acting Director Vought’s February 10, 2025 email, all work in my

office ceased, including all work statutorily required under the CFPA. This has meant that critically

important work that is required of the CFPB has been subject to a complete work stoppage,
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including key areas of work on which consumers and other Bureau stakeholders depend. The

terminations of nearly 200 CFPB employees that followed on February 11 and 13 further ensured

that no work would proceed, with staff expressing concern to me that they might be fired for even

checking their email or requesting authorization to complete statutorily required work.

       7.      Seventeen days later, late on Friday, February 27, 2025, Adam Martinez, the Chief

Operating Officer (COO) of the CFPB sent an email regarding work authorization. This email was

addressed only to senior management and, to my best of my knowledge, only to senior

management in a single CFPB division (Research, Monitoring, and Regulations). The email was

sent on the evening that the plaintiffs’ reply brief and supplemental declarations in this case were

due to be filed. In this new email, COO Martinez stated that “statutorily required work and/or work

required by law are authorized.” COO Martinez explicitly referenced Acting Director Vought’s

February 8 email ordering a stoppage of work “unless expressly approved by the Acting Director

or required by law,” but did not reference Acting Director Vought’s February 10 email ordering

all work to stop, with no distinction or exception for statutorily required work. The February 10

email, however, has not been rescinded or modified, and so COO Martinez’s email has generated

confusion.

       8.      Because of uncertainty about the meaning of COO Martinez’s February 27 email—

particularly its failure to address the complete work stoppage order from the Acting Director’s

February 10 email—no work in my office has restarted.

       9.      Staff in my office have privately reported extreme anxiety to me about performing

any work not expressly authorized by the Acting Director, out of concern that they may be

terminated for insubordination in light of his February 10 work stoppage order, particularly given

the chilling effect of the mass terminations on February 11 and 13, for no apparent cause, and
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internal reports that mass layoffs were imminent. They have specifically expressed concern that

they might be terminated for insubordination in light of the February 10 work stoppage order.

       10.     I do not take COO Martinez’s February 27 email as a sincere attempt to ensure that

the Bureau fulfills its statutory requirements under the CFPA. Rather, I interpret COO Martinez’s

email as a somewhat transparent effort—in advance of a hearing in this Court—to create the

appearance that statutorily required work is taking place across the Bureau when in fact it is not.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on March 2, 2025.                                           /s/ Greer Doe
                                                                     Greer Doe
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            Statutory Requirements for Continuous Operation of the CFPB

February 13, 2025

Persis Yu, Student Borrower Protection Center
Erin Witte, Consumer Federation of America

The Consumer Financial Protection Bureau (CFPB), created in the devastating wake of the
2008 financial crisis, is an independent agency that enforces consumer protection laws and
protects people who have been cheated by financial companies. This memorandum
summarizes the many responsibilities and obligations that the CFPB is legally obligated to
perform. Listed below are 87 such provisions in Title 12 of the U.S. Code – a non-exhaustive list
of the CFPB’s legal responsibilities and obligations, with a short description of each. In addition
to those on this list, there are additional responsibilities and obligations, including in Title 15 of
the U.S. Code. See, e.g., 15 U.S.C. § 1603 note (requiring the CFPB annually to make certain
inflation adjustments).

The overwhelming majority of these items are responsibilities or obligations that the law requires
the CFPB to continuously satisfy, while a relatively small number are one-time mandates that
the CFPB has already satisfied. Additionally, the list does not include certain rulemakings that
the CFPB has interpreted as required under sections 1033 (personal financial data rights) and
1071 (small business lending) of the Consumer Financial Protection Act. 1

Of the 87 provisions surveyed:
    - 13 require the CFPB to continuously operate specific offices/departments (such as an
       Office of Servicemember Affairs and Office of Financial Protection for Older Americans);
    - 14 involve required rulemaking activities (such as issuing a notice of proposed
       rulemaking when a majority of States has enacted a resolution);
    - 13 involve required reports or reporting (such as reporting at least annually on emerging
       risks to consumers);
    - 10 involve required public engagement activities (such as responding timely to consumer
       complaints);



1
  Although the CFPB has interpreted these provisions as imposing mandatory rulemaking requirements,
stakeholders have made strong arguments that covered entities that are not currently in compliance with
these statutory provisions are plainly in violation of federal law. See Loper Bright Enterprises v.
Raimondo, 603 U.S. 369 (2024) (declining to defer to agency’s interpretation of statutory language).
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    -    8 involve requirements for the Bureau’s enforcement, supervision, or examination
         activities (such as conducting periodic examinations of nonbank entities);2
    -    7 obligate assumption of other federal agencies’ responsibilities (such as duties of the
         former Office of Thrift Supervision);
    -    6 involve mandatory consumer disclosures (such as periodically creating materials for
         consumers to understand the nature and costs of real estate settlement services).
    -    5 involve required inter-agency coordination;
    -    3 involve required intra-Bureau coordination;
    -    5 include mandatory labor protections for Bureau employees;
    -    3 impose civil rights-related obligations; and
    -    1 provides funding-related obligations.




2
 Statutes categorized below as pertaining to “enforcement” include those dealing with supervision and
examinations.


                                                   2
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                   Provisions Enacted in 12 U.S.C. ch. 53, sub-ch. V “Bureau of Consumer Financial Protection”


Class              Statutory Mandate                 Statutory Citation       Language
                                                                              [The Bureau] shall regulate the offering and provision of consumer
                   Regulate all financial products                            financial products or services under the Federal consumer
Rulemaking         and services                      12 U.S.C. § 5491(a)      financial laws
                  Comply with federal labor                                   Chapter 71 of title 5 shall apply to the Bureau and the employees
Labor protections protections                        12 U.S.C. § 5493(a)(4)   of the Bureau.
                                                                              (B) The ombudsman appointed in accordance with subparagraph
                                                                              (A) shall—
                                                                              (i) act as a liaison between the Bureau and any affected person
                                                                              with respect to any problem that such party may have in dealing
                                                                              with the Bureau, resulting from the regulatory activities of the
                                                                              Bureau; and
                                                                              (ii) assure that safeguards exist to encourage complainants to
Statutory office   Maintain an ombudsman             12 U.S.C. § 5493(a)(5)   come forward and preserve confidentiality.
                                                                              The Director shall establish a unit whose functions shall include
                                                                              researching, analyzing, and reporting on—
                                                                              (A) developments in markets for consumer financial products or
                                                                              services, including market areas of alternative consumer financial
                                                                              products or services with high growth rates and areas of risk to
                                                                              consumers;
                                                                              (B) access to fair and affordable credit for traditionally underserved
                                                                              communities;
                                                                              (C) consumer awareness, understanding, and use of disclosures
                                                                              and communications regarding consumer financial products or
                                                                              services;
                                                                              (D) consumer awareness and understanding of costs, risks, and
                                                                              benefits of consumer financial products or services;
                                                                              (E) consumer behavior with respect to consumer financial
                                                                              products or services, including performance on mortgage loans;
                                                                              and
Statutory office   Maintain a Research Office        12 U.S.C. § 5493(b)(1)   (F) experiences of traditionally underserved consumers, including



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                                                                                un-banked and under-banked consumers.




                                                                                The Director shall establish a unit whose functions shall include
                                                                                providing information, guidance, and technical assistance
                                                                                regarding the offering and provision of consumer financial
                   Maintain a Community Affairs                                 products or services to traditionally underserved consumers and
Statutory office   Office                              12 U.S.C. § 5493(b)(2)   communities.
                                                                                The Director shall establish a unit whose functions shall include
                                                                                establishing a single, toll-free telephone number, a website, and a
                                                                                database or utilizing an existing database to facilitate the
                                                                                centralized collection of, monitoring of, and response to consumer
                                                                                complaints regarding consumer financial products or services. The
                   Maintain an Office for collecting                            Director shall coordinate with the Federal Trade Commission or
                   and tracking consumer                                        other Federal agencies to route complaints to such agencies,
Statutory office   complaints                          12 U.S.C. § 5493(b)(3)   where appropriate.
                                                                                The Director shall present an annual report to Congress not later
                                                                                than March 31 of each year on the complaints received by the
                                                                                Bureau in the prior year regarding consumer financial products
                                                                                and services. Such report shall include information and analysis
                   Report to Congress annually re:     12 U.S.C. §              about complaint numbers, complaint types, and, where applicable,
Reporting          received complaints                 5493(b)(3)(C)            information about resolution of complaints.




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                                                                              To facilitate preparation of the reports required under
                                                                              subparagraph (C), supervision and enforcement activities, and
                                                                              monitoring of the market for consumer financial products and
                                                                              services, the Bureau shall share consumer complaint information
                                                                              with prudential regulators, the Federal Trade Commission, other
                                                                              Federal agencies, and State agencies, subject to the standards
                                                                              applicable to Federal agencies for protection of the confidentiality
                   Share complaint data with other   12 U.S.C. §              of personally identifiable information and for data security and
Reporting          regulators                        5493(b)(3)(D)            integrity.
                   Maintain an Office of Fair                                 The Director shall establish within the Bureau the Office of Fair
Statutory office   Lending and Equal Opportunity     12 U.S.C. § 5493(c)(1)   Lending and Equal Opportunity.
                                                                              The Office of Fair Lending and Equal Opportunity shall have such
                                                                              powers and duties as the Director may delegate to the Office,
                                                                              including—
                                                                              (A) providing oversight and enforcement of Federal laws intended
                                                                              to ensure the fair, equitable, and nondiscriminatory access to
                                                                              credit for both individuals and communities that are enforced by
                                                                              the Bureau, including the Equal Credit Opportunity Act [15 U.S.C.
                                                                              1691 et seq.] and the Home Mortgage Disclosure Act [12 U.S.C.
                                                                              2801 et seq.];
                                                                              (B) coordinating fair lending efforts of the Bureau with other
                                                                              Federal agencies and State regulators, as appropriate, to promote
                                                                              consistent, efficient, and effective enforcement of Federal fair
                                                                              lending laws;
                                                                              (C) working with private industry, fair lending, civil rights,
                                                                              consumer and community advocates on the promotion of fair
                                                                              lending compliance and education; and
                   Execute duties related to Fair                             (D) providing annual reports to Congress on the efforts of the
Enforcement        Lending and Equal Opportunity     12 U.S.C. § 5493(c)(2)   Bureau to fulfill its fair lending mandate.
                                                                              There is established the position of Assistant Director of the
                                                                              Bureau for Fair Lending and Equal Opportunity, who—
                   Appoint an Assistant Director for                          (A) shall be appointed by the Director; and
Statutory office   Fair Lending & Equal Opportunity 12 U.S.C. § 5493(c)(3)    (B) shall carry out such duties as the Director may delegate to




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                                                                              such Assistant Director.




                                                                              The Director shall establish an Office of Financial Education,
                                                                              which shall be responsible for developing and implementing
                   Maintain an Office of Financial                            initiatives intended to educate and empower consumers to make
Statutory office   Education                         12 U.S.C. § 5493(d)(1)   better informed financial decisions.
                                                                              The Office of Financial Education shall develop and implement a
                                                                              strategy to improve the financial literacy of consumers that
                                                                              includes measurable goals and objectives, in consultation with the
                                                                              Financial Literacy and Education Commission, consistent with the
                                                                              National Strategy for Financial Literacy, through activities including
                                                                              providing opportunities for consumers to access—
                                                                              (A) financial counseling, including community-based financial
                                                                              counseling, where practicable;
                                                                              (B) information to assist with the evaluation of credit products and
                                                                              the understanding of credit histories and scores;
                                                                              (C) savings, borrowing, and other services found at mainstream
                                                                              financial institutions;
                                                                              (D) activities intended to—
                                                                              (i) prepare the consumer for educational expenses and the
                                                                              submission of financial aid applications, and other major
                                                                              purchases;
                                                                              (ii) reduce debt; and
                                                                              (iii) improve the financial situation of the consumer;
                                                                              (E) assistance in developing long-term savings strategies; and
Public             Execute duties related to                                  (F) wealth building and financial services during the preparation
engagement         Financial Education               12 U.S.C. § 5493(d)(2)   process to claim earned income tax credits and Federal benefits.




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                                                                              The Office of Financial Education shall coordinate with other units
                                                                              within the Bureau in carrying out its functions, including—
                                                                              (A) working with the Community Affairs Office to implement the
                                                                              strategy to improve financial literacy of consumers; and
                                                                              (B) working with the research unit established by the Director to
                   Coordinate with other units re:                            conduct research related to consumer financial education and
Coordination       Financial Education               12 U.S.C. § 5493(d)(3)   counseling.
                                                                              Not later than 24 months after the designated transfer date, and
                                                                              annually thereafter, the Director shall submit a report on its
                                                                              financial literacy activities and strategy to improve financial literacy
                                                                              of consumers to—
                                                                              (A) the Committee on Banking, Housing, and Urban Affairs of the
                                                                              Senate; and
                   Report to Congress annually re:                            (B) the Committee on Financial Services of the House of
Reporting          financial literacy activities     12 U.S.C. § 5493(d)(4)   Representatives.
                                                                              The Director shall establish an Office of Service Member Affairs,
                                                                              which shall be responsible for developing and implementing
                                                                              initiatives for service members and their families intended to—
                                                                              (A) educate and empower service members and their families to
                                                                              make better informed decisions regarding consumer financial
                                                                              products and services;
                                                                              (B) coordinate with the unit of the Bureau established under
                                                                              subsection (b)(3), in order to monitor complaints by service
                                                                              members and their families and responses to those complaints by
                                                                              the Bureau or other appropriate Federal or State agency; and
                                                                              (C) coordinate efforts among Federal and State agencies, as
                                                                              appropriate, regarding consumer protection measures relating to
                   Maintain an Office of Service                              consumer financial products and services offered to, or used by,
Statutory office   Member Affairs                    12 U.S.C. § 5493(e)(1)   service members and their families.




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                                                                                Before the end of the 180-day period beginning on the designated
                                                                                transfer date, the Director shall establish the Office of Financial
                                                                                Protection for Older Americans, the functions of which shall
                                                                                include activities designed to facilitate the financial literacy of
                                                                                individuals who have attained the age of 62 years or more (in this
                                                                                subsection, referred to as “seniors”) on protection from unfair,
                                                                                deceptive, and abusive practices and on current and future
                   Maintain an Office of Financial                              financial choices, including through the dissemination of materials
Statutory office   Protection for Older Americans      12 U.S.C. § 5493(f)(1)   to seniors on such topics.
                                                                                The Office of Financial Protection for Older Americans (in this
                   Appoint an Assistant Director for                            subsection referred to as the “Office”) shall be headed by an
Statutory office   Protection of Older Americans       12 U.S.C. § 5493(f)(2)   assistant director.




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                                                                       The Office shall—
                                                                       (A) develop goals for programs that provide seniors financial
                                                                       literacy and counseling, including programs that—
                                                                       (i) help seniors recognize warning signs of unfair, deceptive, or
                                                                       abusive practices, protect themselves from such practices;
                                                                       (ii) provide one-on-one financial counseling on issues including
                                                                       long-term savings and later-life economic security; and
                                                                       (iii) provide personal consumer credit advocacy to respond to
                                                                       consumer problems caused by unfair, deceptive, or abusive
                                                                       practices;
                                                                       (B) monitor certifications or designations of financial advisors who
                                                                       advise seniors and alert the Commission and State regulators of
                                                                       certifications or designations that are identified as unfair,
                                                                       deceptive, or abusive;
                                                                       (C) not later than 18 months after the date of the establishment of
                                                                       the Office, submit to Congress and the Commission any legislative
                                                                       and regulatory recommendations on the best practices for—
                                                                       (i) disseminating information regarding the legitimacy of
                                                                       certifications of financial advisers who advise seniors;
                                                                       (ii) methods in which a senior can identify the financial advisor
                                                                       most appropriate for the senior’s needs; and
                                                                       (iii) methods in which a senior can verify a financial advisor’s
                                                                       credentials;
                                                                       (D) conduct research to identify best practices and effective
                                                                       methods, tools, technology and strategies to educate and counsel
                                                                       seniors about personal finance management with a focus on—
                                                                       (i) protecting themselves from unfair, deceptive, and abusive
                                                                       practices;
                                                                       (ii) long-term savings; and
                                                                       (iii) planning for retirement and long-term care;
                                                                       (E) coordinate consumer protection efforts of seniors with other
             Execute duties related to                                 Federal agencies and State regulators, as appropriate, to promote
Public       Financial Protection for Older                            consistent, effective, and efficient enforcement; and
engagement   Americans                        12 U.S.C. § 5493(f)(3)   (F) work with community organizations, non-profit organizations,




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                                                                   and other entities that are involved with educating or assisting
                                                                   seniors (including the National Education and Resource Center on
                                                                   Women and Retirement Planning).




                                                                   (a) Establishment required
                                                                   The Director shall establish a Consumer Advisory Board to advise
                                                                   and consult with the Bureau in the exercise of its functions under
                                                                   the Federal consumer financial laws, and to provide information on
                                                                   emerging practices in the consumer financial products or services
Public       Establish a Consumer Advisory                         industry, including regional trends, concerns, and other relevant
engagement   Board                           12 U.S.C. § 5494(a)   information.




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                                                                          In appointing the members of the Consumer Advisory Board, the
                                                                          Director shall seek to assemble experts in consumer protection,
                                                                          financial services, community development, fair lending and civil
                                                                          rights, and consumer financial products or services and
                                                                          representatives of depository institutions that primarily serve
                                                                          underserved communities, and representatives of communities
                                                                          that have been significantly impacted by higher-priced mortgage
                                                                          loans, and seek representation of the interests of covered persons
               Seek out and appoint a range of                            and consumers, without regard to party affiliation. Not fewer than 6
Public         consumer stakeholders to                                   members shall be appointed upon the recommendation of the
engagement     Consumer Advisory Board            12 U.S.C. § 5494(b)     regional Federal Reserve Bank Presidents, on a rotating basis.
               Hold regular meetings of the                               The Consumer Advisory Board shall meet from time to time at the
Public         Consumer Advisory Board, at                                call of the Director, but, at a minimum, shall meet at least twice in
engagement     least twice a year                 12 U.S.C. § 5494(c)     each year.
                                                                          The Bureau shall coordinate with the Commission, the Commodity
                                                                          Futures Trading Commission, the Federal Trade Commission, and
                                                                          other Federal agencies and State regulators, as appropriate, to
Inter-agency                                                              promote consistent regulatory treatment of consumer financial and
Coordination   Coordinate with other regulators   12 U.S.C. § 5495        investment products and services.
                                                                          The Bureau shall, concurrent with each semi-annual hearing
                                                                          referred to in subsection (a), prepare and submit to the President
                                                                          and to the Committee on Banking, Housing, and Urban Affairs of
                                                                          the Senate and the Committee on Financial Services and the
                                                                          Committee on Energy and Commerce of the House of
                                                                          Representatives, a report, beginning with the session following the
                                                                          designated transfer date. The Bureau may also submit such report
               Report to Congressional                                    to the Committee on Commerce, Science, and Transportation of
Reporting      Committees semi-annually           12 U.S.C. § 5496(b)     the Senate.




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                                                                        The reports required by subsection (b) shall include—
                                                                        (1) a discussion of the significant problems faced by consumers in
                                                                        shopping for or obtaining consumer financial products or services;
                                                                        (2) a justification of the budget request of the previous year;
                                                                        (3) a list of the significant rules and orders adopted by the Bureau,
                                                                        as well as other significant initiatives conducted by the Bureau,
                                                                        during the preceding year and the plan of the Bureau for rules,
                                                                        orders, or other initiatives to be undertaken during the upcoming
                                                                        period;
                                                                        (4) an analysis of complaints about consumer financial products or
                                                                        services that the Bureau has received and collected in its central
                                                                        database on complaints during the preceding year;
                                                                        (5) a list, with a brief statement of the issues, of the public
                                                                        supervisory and enforcement actions to which the Bureau was a
                                                                        party during the preceding year;
                                                                        (6) the actions taken regarding rules, orders, and supervisory
                                                                        actions with respect to covered persons which are not credit
                                                                        unions or depository institutions;
                                                                        (7) an assessment of significant actions by State attorneys general
                                                                        or State regulators relating to Federal consumer financial law;
                                                                        (8) an analysis of the efforts of the Bureau to fulfill the fair lending
                                                                        mission of the Bureau; and
                                                                        (9) an analysis of the efforts of the Bureau to increase workforce
             Address specific topics in semi-                           and contracting diversity consistent with the procedures
Reporting    annual Congressional Reports       12 U.S.C. § 5496(c)     established by the Office of Minority and Women Inclusion.
                                                                        Funds obtained by, transferred to, or credited to the Bureau Fund
                                                                        shall be immediately available to the Bureau and under the control
                                                                        of the Director, and shall remain available until expended, to pay
             Expend funds transferred by Fed                            the expenses of the Bureau in carrying out its duties and
Funding      on Agency Activities            12 U.S.C. § 5497(c)        responsibilities.
                                                                        The Bureau shall, by rule, adopt data standards for all collections
                                                                        of information that are regularly filed with or submitted to the
Rulemaking   Maintain data standards            12 U.S.C. § 5498        Bureau.




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                                                                            All public data assets published by the Bureau shall be—
                                                                            (1) made available as an open Government data asset (as defined
               Maintain public access to all                                in section 3502 of title 44);
Reporting      published data sets                 12 U.S.C. § 5499         (2) freely available for download;
                                                                            In order to support its rulemaking and other functions, the Bureau
                                                                            shall monitor for risks to consumers in the offering or provision of
               Actively monitor emerging risks to                           consumer financial products or services, including developments
Enforcement    consumers                          12 U.S.C. § 5512(c)(1)    in markets for such products or services.
               Issue reports on emerging risks                              The Bureau shall publish not fewer than 1 report of significant
               to consumers, no less than                                   findings of its monitoring required by this subsection in each
Reporting      annually                            12 U.S.C. § 5512(c)(3)   calendar year...
                                                                            The Bureau shall prescribe rules regarding the confidential
                                                                            treatment of information obtained from persons in connection with
               Prescribe rules for maintaining                              the exercise of its authorities under Federal consumer financial
Rulemaking     consumer confidentiality            12 U.S.C. § 5512(c)(6)   law.
                                                                            The Bureau shall require reports and conduct examinations on a
                                                                            periodic basis of persons described in subsection (a)(1) for
                                                                            purposes of—
                                                                            (A) assessing compliance with the requirements of Federal
                                                                            consumer financial law;
                                                                            (B) obtaining information about the activities and compliance
                                                                            systems or procedures of such person; and
               Regularly examine covered                                    (C) detecting and assessing risks to consumers and to markets for
Enforcement    entities                            12 U.S.C. § 5514(b)(1)   consumer financial products and services.
                                                                            To minimize regulatory burden, the Bureau shall coordinate its
                                                                            supervisory activities with the supervisory activities conducted by
                                                                            prudential regulators, the State bank regulatory authorities, and
                                                                            the State agencies that licence, supervise, or examine the offering
                                                                            of consumer financial products or services, including establishing
                                                                            their respective schedules for examining persons described in
Inter-agency   Coordinate supervisory activities                            subsection (a)(1) and requirements regarding reports to be
Coordination   with other regulators               12 U.S.C. § 5514(b)(3)   submitted by such persons




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                                                                         The Bureau shall prescribe rules to facilitate supervision of
                                                12 U.S.C. §              persons described in subsection (a)(1) and assessment and
Rulemaking    Prescribe rules for supervision   5514(b)(7)(A)            detection of risks to consumers.
                                                                         Except as provided in paragraph (3) and section 5581 of this title,
                                                                         with respect to any person described in subsection (a)(1), to the
                                                                         extent that Federal law authorizes the Bureau and another Federal
                                                                         agency to enforce Federal consumer financial law, the Bureau
              Exercise exclusive enforcement                             shall have exclusive authority to enforce that Federal consumer
Enforcement   authority                         12 U.S.C. § 5514(c)(1)   financial law.
                                                                         Notwithstanding any other provision of Federal law and except as
                                                                         provided in section 5581 of this title, to the extent that Federal law
                                                                         authorizes the Bureau and another Federal agency to issue
                                                                         regulations or guidance, conduct examinations, or require reports
                                                                         from a person described in subsection (a)(1) under such law for
                                                                         purposes of assuring compliance with Federal consumer financial
                                                                         law and any regulations thereunder, the Bureau shall have the
                                                                         exclusive authority to prescribe rules, issue guidance, conduct
                                                                         examinations, require reports, or issue exemptions with regard to
              Exercise exclusive rulemaking                              a person described in subsection (a)(1), subject to those
Rulemaking    authority                         12 U.S.C. § 5514(d)      provisions of law.
                                                                         The Bureau shall have exclusive authority to require reports and
                                                                         conduct examinations on a periodic basis of persons described in
                                                                         subsection (a) for purposes of—
                                                                         (A) assessing compliance with the requirements of Federal
                                                                         consumer financial laws;
                                                                         (B) obtaining information about the activities subject to such laws
                                                                         and the associated compliance systems or procedures of such
                                                                         persons; and
              Exercise exclusive examination                             (C) detecting and assessing associated risks to consumers and to
Enforcement   authority                         12 U.S.C. § 5515(b)(1)   markets for consumer financial products and services.




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                                                                          To minimize regulatory burden, the Bureau shall coordinate its
                                                                          supervisory activities with the supervisory activities conducted by
                                                                          prudential regulators and the State bank regulatory authorities,
                                                                          including consultation regarding their respective schedules for
               Coordinate examination activities                          examining such persons described in subsection (a) and
Coordination   with other regulators             12 U.S.C. § 5515(b)(2)   requirements regarding reports to be submitted by such persons.
                                                                          The Bureau shall provide the Commissioner of Internal Revenue
                                                                          with any report of examination or related information identifying
Enforcement    report tax law noncompliance      12 U.S.C. § 5515(b)(5)   possible tax law noncompliance.
                                                                          (1) A prudential regulator and the Bureau shall, with respect to
                                                                          each insured depository institution, insured credit union, or other
                                                                          covered person described in subsection (a) that is supervised by
                                                                          the prudential regulator and the Bureau, respectively—
                                                                          (A) coordinate the scheduling of examinations of the insured
                                                                          depository institution, insured credit union, or other covered
                                                                          person described in subsection (a);
                                                                          (B) conduct simultaneous examinations of each insured depository
                                                                          institution or insured credit union, unless such institution requests
                                                                          examinations to be conducted separately;
                                                                          (C) share each draft report of examination with the other agency
                                                                          and permit the receiving agency a reasonable opportunity (which
                                                                          shall not be less than a period of 30 days after the date of receipt)
                                                                          to comment on the draft report before such report is made final;
                                                                          and
                                                                          (D) prior to issuing a final report of examination or taking
                                                                          supervisory action, take into consideration concerns, if any, raised
                                                                          in the comments made by the other agency.

                                                                          (2) Coordination with State bank supervisors
               Coordinate simultaneous /                                  The Bureau shall pursue arrangements and agreements with State
               overlapping examination activities                         bank supervisors to coordinate examinations, consistent with
Coordination   with other regulators              12 U.S.C. § 5515(e)     paragraph (1).




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                                                                         The Bureau, by rule, shall prescribe standards applicable to
                                                                         covered persons to promote the development and use of
                                                                         standardized formats for information, including through the use of
Public             Establish data formats for                            machine readable files, to be made available to consumers under
engagement         consumer information requests   12 U.S.C. § 5533(d)   this section.
                                                                         The Bureau shall establish, in consultation with the appropriate
                                                                         Federal regulatory agencies, reasonable procedures to provide a
                                                                         timely response to consumers, in writing where appropriate, to
                                                                         complaints against, or inquiries concerning, a covered person,
                                                                         including—
                                                                         (1) steps that have been taken by the regulator in response to the
                                                                         complaint or inquiry of the consumer;
                                                                         (2) any responses received by the regulator from the covered
                                                                         person; and
Public             Respond timely to consumer                            (3) any follow-up actions or planned follow-up actions by the
engagement         complaints                      12 U.S.C. § 5534(a)   regulator in response to the complaint or inquiry of the consumer.
                                                                         The Bureau shall enter into a memorandum of understanding with
                                                                         any affected Federal regulatory agency regarding procedures by
                                                                         which any covered person, and the prudential regulators, and any
                                                                         other agency having jurisdiction over a covered person, including
                   Coordinate with other federal                         the Secretary of the Department of Housing and Urban
Public             agencies re: consumer                                 Development and the Secretary of Education, shall comply with
engagement         complaints                      12 U.S.C. § 5534(d)   this section.
                                                                         The Secretary, in consultation with the Director, shall designate a
                                                                         Private Education Loan Ombudsman (in this section referred to as
                   Maintain a Private Education                          the “Ombudsman”) within the Bureau, to provide timely assistance
Statutory Office   Loan Ombudsman                  12 U.S.C. § 5535(a)   to borrowers of private education loans.




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                                                                     The Ombudsman designated under this subsection shall—
                                                                     (1) in accordance with regulations of the Director, receive, review,
                                                                     and attempt to resolve informally complaints from borrowers of
                                                                     loans described in subsection (a), including, as appropriate,
                                                                     attempts to resolve such complaints in collaboration with the
                                                                     Department of Education and with institutions of higher education,
                                                                     lenders, guaranty agencies, loan servicers, and other participants
                                                                     in private education loan programs;
                                                                     (2) not later than 90 days after the designated transfer date,
                                                                     establish a memorandum of understanding with the student loan
                                                                     ombudsman established under section 1018(f) of title 20, to
                                                                     ensure coordination in providing assistance to and serving
                                                                     borrowers seeking to resolve complaints related to their private
                                                                     education or Federal student loans;
                                                                     (3) compile and analyze data on borrower complaints regarding
                                                                     private education loans; and
                                                                     (4) make appropriate recommendations to the Director, the
                                                                     Secretary, the Secretary of Education, the Committee on Banking,
                                                                     Housing, and Urban Affairs and the Committee on Health,
             Execute consumer outreach,                              Education, Labor, and Pensions of the Senate and the Committee
Public       complaint handling, education,                          on Financial Services and the Committee on Education and Labor
engagement   and reporting re: education loans 12 U.S.C. § 5535(c)   of the House of Representatives.
                                                                     (1) In general
                                                                     The Ombudsman shall prepare an annual report that describes the
                                                                     activities, and evaluates the effectiveness of the Ombudsman
                                                                     during the preceding year.
                                                                     (2) Submission
                                                                     The report required by paragraph (1) shall be submitted on the
                                                                     same date annually to the Secretary, the Secretary of Education,
                                                                     the Committee on Banking, Housing, and Urban Affairs and the
                                                                     Committee on Health, Education, Labor, and Pensions of the
                                                                     Senate and the Committee on Financial Services and the
             Report to Congress re: education                        Committee on Education and Labor of the House of
Reporting    loan activities                  12 U.S.C. § 5535(d)    Representatives.



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                                                                          The Office [of Financial Literacy] shall establish a program under
                                                                          which the Office may make grants to States or eligible entities—
                                                                          (1) to hire staff to identify, investigate, and prosecute (through civil,
                                                                          administrative, or criminal enforcement actions) cases involving
                                                                          misleading or fraudulent marketing;
                                                                          (2) to fund technology, equipment, and training for regulators,
                                                                          prosecutors, and law enforcement officers, in order to identify
                                                                          salespersons and advisers who target seniors through the use of
                                                                          misleading designations;
                                                                          (3) to fund technology, equipment, and training for prosecutors to
                                                                          increase the successful prosecution of salespersons and advisers
                                                                          who target seniors with the use of misleading designations;
                                                                          (4) to provide educational materials and training to regulators on
                                                                          the appropriateness of the use of designations by salespersons
                                                                          and advisers in connection with the sale and marketing of financial
                                                                          products;
                                                                          (5) to provide educational materials and training to seniors to
                                                                          increase awareness and understanding of misleading or fraudulent
                                                                          marketing;
                                                                          (6) to develop comprehensive plans to combat misleading or
                                                                          fraudulent marketing of financial products to seniors; and
Public       Maintain a grant program for                                 (7) to enhance provisions of State law to provide protection for
engagement   enhanced protection of seniors      12 U.S.C. § 5537(b)      seniors against misleading or fraudulent marketing.
                                                                          The Bureau shall issue a notice of proposed rulemaking whenever
                                                                          a majority of the States has enacted a resolution in support of the
             Initiate rulemaking when a                                   establishment or modification of a consumer protection regulation
Rulemaking   majority of the states so request   12 U.S.C. § 5551(c)(1)   by the Bureau.
                                                                          whenever the Bureau determines not to prescribe a final
                                                                          regulation, shall publish an explanation of such determination in
                                                                          the Federal Register, and provide a copy of such explanation to
                                                                          each State that enacted a resolution in support of the proposed
                                                                          regulation, the Committee on Banking, Housing, and Urban Affairs
             Explain any decision not to         12 U.S.C. §              of the Senate, and the Committee on Financial Services of the
Rulemaking   prescribe a final regulation        5551(c)(3)(B)            House of Representatives.



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                                                                            The Bureau shall prescribe regulations to implement the
                                                                            requirements of this section and, from time to time, provide
                Prescribe regulations for                                   guidance in order to further coordinate actions with the State
Rulemaking      information sharing with states    12 U.S.C. § 5552(c)      attorneys general and other regulators.
                                                                            No rule established by the Bureau regarding the confidentiality of
                                                                            materials submitted to, or otherwise obtained by, the Bureau shall
                Not interfere with Congressional                            be intended to prevent disclosure to either House of Congress or
Reporting       access to submitted materials      12 U.S.C. § 5562(d)(2)   to an appropriate committee of the Congress,
                Prescribe rules for hearings and                            The Bureau shall prescribe rules establishing such procedures as
Rulemaking      adjudication proceedings           12 U.S.C. § 5563(e)      may be necessary to carry out this section.
                Assume all duties formerly
Assumption of   assigned to the Board of                                    The Bureau shall have all powers and duties that were vested in
other agency    Governors related to consumer      12 U.S.C. §              the Board of Governors, relating to consumer financial protection
powers          financial protection               5563(b)(1)(B)            functions, on the day before the designated transfer date.
                Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
Assumption of   assigned to the Comptroller of                              the Comptroller of the Currency, relating to consumer financial
other agency    the Currency related to consumer 12 U.S.C. §                protection functions, on the day before the designated transfer
powers          financial protection             5563(b)(2)(B)              date.
                Assume all duties formerly
                assigned to the Director of the                             The Bureau shall have all powers and duties that were vested in
Assumption of   Office of Thrift Supervision                                the Director of the Office of Thrift Supervision, relating to
other agency    related to consumer financial      12 U.S.C. §              consumer financial protection functions, on the day before the
powers          protection                         5563(b)(3)(B)            designated transfer date.
                Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
Assumption of   assigned to the Federal Deposit                             the Federal Deposit Insurance Corporation, relating to consumer
other agency    Insurance Corporation related to   12 U.S.C. §              financial protection functions, on the day before the designated
powers          consumer financial protection      5563(b)(4)(B)            transfer date.
                Assume joint responsibility for                             The Bureau shall have all powers and duties under the
                duties formerly assigned                                    enumerated consumer laws to prescribe rules, issue guidelines, or
Assumption of   exclusively to the Federal Trade                            to conduct studies or issue reports mandated by such laws, that
other agency    Commission related to consumer 12 U.S.C. §                  were vested in the Federal Trade Commission on the day before
powers          financial protection             5563(b)(5)(B)(i)           the designated transfer date.



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                                                                               To avoid duplication of or conflict between rules prescribed by the
                                                                               Bureau under section 5531 of this title and the Federal Trade
                                                                               Commission under section 18(a)(1)(B) of the Federal Trade
                                                                               Commission Act [15 U.S.C. 57a(a)(1)(B)] that apply to a covered
                                                                               person or service provider with respect to the offering or provision
                                                                               of consumer financial products or services, the agencies shall
                                                                               negotiate an agreement with respect to rulemaking by each
Inter-agency      Coordinate joint responsibilities   12 U.S.C. §              agency, including consultation with the other agency prior to
Coordination      with FTC                            5563(b)(5)(D)            proposing a rule and during the comment period.
                  Assume all duties formerly                                   The Bureau shall have all powers and duties that were vested in
Assumption of     assigned to the National Credit                              the National Credit Union Administration, relating to consumer
other agency      Union Administration related to     12 U.S.C. §              financial protection functions, on the day before the designated
powers            consumer financial protection       5563(b)(6)(B)            transfer date.
                                                                               The Bureau shall have all powers and duties that were vested in
                                                                               the Secretary of the Department of Housing and Urban
                                                                               Development relating to the Real Estate Settlement Procedures
                                                                               Act of 1974 (12 U.S.C. 2601 et seq.), the Secure and Fair
                                                                               Enforcement for Mortgage Licensing Act of 2008 (12 U.S.C. 5101
Assumption of     Assume all duties formerly                                   et seq.), and the Interstate Land Sales Full Disclosure Act (15
other agency      assigned to HUD related to          12 U.S.C. §              U.S.C. 1701 et seq.), on the day before the designated transfer
powers            consumer financial protection       5563(b)(7)(B)            date.
                                                                               [Re: all foregoing transfers of duties,] Section 5581(b)(X) of this
                                                                               title does not affect the validity of any right, duty, or obligation of
                                                                               the United States, [X Agency], or any other person that—
                                                                               (A) arises under any provision of law relating to any consumer
Inter-agency      Honor broad savings provisions      12 U.S.C. §              financial protection function of the [X Agency] transferred to the
Coordination      re: transferred duties              5583(b)(7)(B)            Bureau by this title; [1] and[
                                                                               [Re: all foregoing transferrs of duties,] The Bureau and each of the
                                                                               transferor agencies (except the Federal Trade Commission) shall
                                                                               jointly determine the number of employees and the types and
                                                                               grades of employees necessary to perform the functions of the
                  Maintain appropriate staffing to                             Bureau under part A, including consumer education, financial
Labor protections execute the transferred duties      12 U.S.C. § 5583(a)(7)   literacy, policy analysis, responses to consumer complaints and



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                                                                             inquiries, research, and similar functions. All employees jointly
                                                                             identified under this paragraph shall be transferred to the Bureau
                                                                             for employment.



                                                                             If the Bureau determines, at any time after the 3-year period
                  Fulfill the requirements of 5                              beginning on the designated transfer date, that a reorganization of
                  U.S.C. § 35 when executing any    12 U.S.C. §              the staff of the Bureau is required, any resulting reduction in force
Labor protections reduction in force                5583(h)(2)(A)            shall be governed by the provisions of chapter 35 of title 5,
                                                                             The Bureau shall submit a workforce flexibility plan that includes,
                                                                             to the extent practicable—
                                                                             (i) telework;
                                                                             (ii) flexible work schedules;
                                                                             (iii) phased retirement;
                                                                             (iv) reemployed annuitants;
                                                                             (v) part-time work;
                                                                             (vi) job sharing;
                                                                             (vii) parental leave benefits and
                                                                             childcare assistance;
                                                                             (viii) domestic partner benefits;
                                                                             (ix) other workplace flexibilities; or
                  Make flexible work arrangements 12 U.S.C. §                (x) any combination of the items de-
Labor protections available to Bureau staff       5587(b)(2)(B)              scribed in clauses (i) through (ix).
                                                                             As part of its [2] duties as members of the Financial Literacy and
                                                                             Education Commission, the Bureau, the Federal banking
                                                                             agencies, and the National Credit Union Administration shall assist
                                                                             the Financial Literacy and Education Commission in executing the
Inter-agency     Assist Financial Literacy                                   Strategy for Assuring Financial Empowerment (or the “SAFE
Coordination     Commission                         12 U.S.C. § 5601(c)(2)   Strategy”), as it relates to remittances.
                 Maintain rules and/or programs                              the Bureau shall, consistent with part B, propose regulations or
                 concerning exchange facilitation                            otherwise establish a program to protect consumers who use
Rulemaking       and reverse mortgages              12 U.S.C. § 5603(c)      exchange facilitators.




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                                           Additional Provisions Enacted in 12 U.S.C.

                                                                                   (c) Manner and content of disclosure
                                                                                   To ensure that current and prospective customers
                                                                                   understand the risks involved in foregoing Federal
                                                                                   deposit insurance, the Bureau, by regulation or order,
                                                                                   shall prescribe the manner and content of disclosure
                                                                                   required under this section, which shall be presented in
              Regulate disclosures required of depository                          such format and in such type size and manner as to be
Rulemaking    institutions lacking Federal deposit insurance   12 U.S.C. § 1831t   simple and easy to understand
                                                                                   The Bureau shall publish a single, integrated disclosure
                                                                                   for mortgage loan transactions (including real estate
                                                                                   settlement cost statements) which includes the
                                                                                   disclosure requirements of this section and section 2604
                                                                                   of this title, in conjunction with the disclosure
                                                                                   requirements of the Truth in Lending Act [15 U.S.C.
                                                                                   1601 et seq.] that, taken together, may apply to a
                                                                                   transaction that is subject to both or either provisions of
                                                                                   law. The purpose of such model disclosure shall be to
                                                                                   facilitate compliance with the disclosure requirements of
                                                                                   this chapter 1 and the Truth in Lending Act, and to aid
                                                                                   the borrower or lessee in understanding the transaction
                                                                                   by utilizing readily understandable language to simplify
                                                                                   the technical nature of the disclosures. Such forms shall
                                                                                   conspicuously and clearly itemize all charges imposed
                                                                                   upon the borrower and all charges imposed upon the
                                                                                   seller in connection with the settlement and shall indicate
                                                                                   whether any title insurance premium included in such
Consumer      Maintain model disclosure forms for mortgage                         charges covers or insures the lender’s interest in the
Disclosures   loan transactions                            12 U.S.C. § 2603(a)     property, the borrower’s interest, or both.




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                                                                                    The Director of the Bureau of Consumer Financial
                                                                                    Protection (hereafter in this section referred to as the
                                                                                    ‘‘Director’’) shall prepare, at least once every 5 years, a
                                                                                    booklet to help consumers applying for federally related
                                                                                    mortgage loans to understand the nature and costs of
                                                                                    real estate settlement services. The Director shall
                                                                                    prepare the booklet in various languages and cultural
                                                                                    styles, as the Director determines to be appropriate, so
                                                                                    that the booklet is understandable and accessible to
                                                                                    homebuyers of different ethnic and cultural backgrounds.
                                                                                    The Director shall distribute such booklets to all lenders
                                                                                    that make federally related mortgage loans. The Director
                                                                                    shall also distribute to such lenders lists, organized by
                                                                                    location, of homeownership counselors certified under
Consumer                                                                            section 1701x(e) of this title for use in complying with the
Disclosures   Maintain home buying information booklets      12 U.S.C. § 2604       requirement under subsection (c) of this section.
                                                                                    The Bureau shall establish any requirements necessary
                                                                                    to carry out this section. Such regulations shall include
              Regulate servicing of mortgage loans and       12 U.S.C. §            the model disclosure
Rulemaking    administration of escrow accounts              2605(j)(3)             statement required under subsection (a)(2).
                                                                                    Subject to subsection (h), the Bureau shall prescribe a
Consumer      Regulate disclosures required of all depository                       standard format for the disclosures required under this
Disclosures   institutions that handle mortgage loans         12 U.S.C. § 2803(e)   section.
                                                                                    The Bureau shall prescribe such regulations as may be
                                                                                    necessary to carry out the purposes of this chapter.
                                                                                    These regulations may contain such classifications,
                                                                                    differentiations, or other provisions, and may provide for
                                                                                    such adjustments and exceptions for any class of
                                                                                    transactions, as in the judgment of the Bureau are
                                                                                    necessary and proper to effectuate the purposes of this
Consumer      Regulate disclosures required for all mortgage                        chapter, and prevent circumvention or evasion thereof,
Disclosures   loans                                          12 U.S.C. § 2804(a)    or to facilitate compliance therewith.




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                                                                                           The Director of the Bureau of Consumer Financial
                                                                                           Protection, with the assistance of the Secretary, the
                                                                                           Director of the Bureau of the Census, the Board of
                                                                                           Governors of the Federal Reserve System, the Federal
                                                                                           Deposit Insurance Corporation, and such other persons
                                                                                           as the Bureau deems appropriate, shall develop or
                                                                                           assist in the improvement of, methods of matching
                   Develop and refine systems for matching                                 addresses and census tracts to facilitate compliance by
                   addresses to census tracts for civil rights       12 U.S.C. §           depository institutions in as economical a manner as
Civil rights       reporting                                         2806(a)(1)            possible with the requirements of this chapter.
                                                                                           The Bureau, in consultation with the Secretary of
                                                                                           Housing and Urban Development, shall report annually
                                                                                           to the Congress on the utility of the requirements of
                                                                                           section 2803(b)(4) of this title. [the number and dollar
                                                                                           amount of mortgage loans and completed applications
                                                                                           involving mortgagors or mortgage applicants grouped
                   Report to Congress annually regarding utility                           according to census tract, income level, racial
Civil rights       of civil rights reporting                         12 U.S.C. § 2807      characteristics, age, and gender]
                                                                                           The Council shall also produce tables indicating, for
                                                                                           each primary metropolitan statistical area, metropolitan
                                                                                           statistical area, or consolidated metropolitan statistical
                                                                                           area that is not comprised of designated primary
                                                                                           metropolitan statistical areas, aggregate lending patterns
                                                                                           for various categories of census tracts grouped
                   Compile statistics, on an ongoing basis, on                             according to location, age of housing stock, income
Reporting          mortgage issuance                                 12 U.S.C. § 2809(a)   level, and racial characteristics.
                                                                                           The Bureau shall provide staff and data processing
                  Provide staff and resources for civil rights                             resources to the Council to enable it to carry out the
Labor protections reporting                                          12 U.S.C. § 2809(b)   provisions of subsection (a).
                                                                                           The data and tables required pursuant to subsection (a)
                                                                                           shall be made available to the public by no later than
                   Make mortgage issuance data available to the                            December 31 of the year following the calendar year on
Reporting          public                                       12 U.S.C. § 2809(c)        which the data is based.



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                                                                                         There shall be within the Council a subcommittee to be
                                                                                         known as the ‘‘Appraisal Subcommittee’’, which shall
                                                                                         consist of the designees of the heads of the Federal
                                                                                         financial institutions regulatory agencies, the Bureau of
                                                                                         Consumer Financial Protection, and the Federal Housing
                   Send a qualified delegate to the Appraisal                            Finance Agency. Each such designee shall be a person
                   Subcommittee of the Federal Financial                                 who has demonstrated knowledge and competence
Statutory office   Institutions Examination Council                12 U.S.C. § 3310      concerning the appraisal profession.
                                                                                         Each depository institution shall maintain a schedule of
                                                                                         fees, charges, interest rates, and terms and conditions
                                                                                         applicable to each class of accounts offered by the
                                                                                         depository institution, in accordance with the
                                                                                         requirements of this section and regulations which the
                                                                                         Bureau shall prescribe. The Bureau shall specify, in
                                                                                         regulations, which fees, charges, penalties, terms,
                                                                                         conditions, and account restrictions must be included in
                                                                                         a schedule required under this subsection. A depository
Consumer           Specify required elements of consumer                                 institution need not include in such schedule any
Disclosures        disclosures for savings accounts (TISA)         12 U.S.C. § 4303(a)   information not specified in such regulation.
                                                                                         The Bureau shall require, in regulations which the
                                                                                         Bureau shall prescribe, such modification in the
                                                                                         disclosure requirements under this chapter relating to
                                                                                         annual percentage yield as may be necessary to carry
                                                                                         out the purposes of this chapter in the case of—
                                                                                         (1) accounts with respect to which determination of
                                                                                         annual percentage yield is based on an annual rate of
                                                                                         interest that is guaranteed for a period of less than 1
                                                                                         year;
                                                                                         (2) variable rate accounts;
                                                                                         (3) accounts which, pursuant to law, do not guarantee
                                                                                         payment of a stated rate;
                   Prescribe special regulations for depository                          (4) multiple rate accounts; and
                   accounts that provide interest that cannot be                         (5) accounts with respect to which determination of
Rulemaking         accurately expressed as a simple APR            12 U.S.C. § 4304      annual percentage yield is based on an annual rate of



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                                                                                   interest that is guaranteed for a stated term.




                                                                                   ...the Bureau, after consultation with each agency
                                                                                   referred to in section 4309(a) of this title and public
                                                                                   notice and opportunity for comment, shall prescribe
              Prescribe regulations to enforce all           12 U.S.C. §           regulations to carry out the purpose and provisions of
Rulemaking    substantive provisions of TISA                 4308(a)(1)            this chapter.
                                                                                   The Bureau shall publish model forms and clauses for
                                                                                   common disclosures to facilitate compliance with this
                                                                                   chapter. In devising such forms, the Bureau shall
Consumer      Publish model forms to support all substantive 12 U.S.C. §           consider the use by depository institutions of data
Disclosures   provisions of TISA                             4309(b)(1)            processing or similar automated machines.
                                                                                   Subject to subtitle B of the Consumer Financial
                                                                                   Protection Act of 2010 [12 U.S.C. 5511 et seq.],
                                                                                   compliance with the requirements imposed under this
                                                                                   chapter shall be enforced under— ...(4) subtitle E of the
                                                                                   Consumer Financial Protection Act of 2010 [12 U.S.C.
                                                                                   5561 et seq.], by the Bureau of Consumer Financial
              Enforce all substantive requirements for                             Protection, with respect to any person subject to this
Enforcement   mortgage disclosures                           12 U.S.C. § 4909(a)   chapter.
                                                                                   The Bureau shall develop and maintain a system for
                                                                                   registering employees of a depository institution,
                                                                                   employees of a subsidiary that is owned and controlled
                                                                                   by a depository institution and regulated by a Federal
              Maintain a registration system for loan        12 U.S.C. §           banking agency, or employees of an institution regulated
Enforcement   originators                                    5106(a)(1)            by the Farm Credit Administration, as registered loan



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                                                                                     originators with the Nationwide Mortgage Licensing
                                                                                     System and Registry.




                                                                                     Not later than 1 year after July 30, 2008, and annually
                                                                                     thereafter, the Director shall submit a report to Congress
                                                                                     on the effectiveness of the provisions of this chapter,
                                                                                     including legislative recommendations, if any, for
                                                                                     strengthening consumer protections, enhancing
                                                                                     examination standards, streamlining communication
                                                                                     between all stakeholders involved in residential
                                                                                     mortgage loan origination and processing, and
                   Report to Congress annually: re: loan                             establishing performance based bonding requirements
                   originator registration and bonding                               for mortgage originators or institutions that employ such
Reporting          requirements                                12 U.S.C. § 5115(a)   brokers.
                                                                                     A) In general
                                                                                     ...each agency shall establish an Office of Minority and
                                                                                     Women Inclusion that shall be responsible for all matters
                                                                                     of the agency relating to diversity in management,
                                                                                     employment, and business activities.
                                                                                     (B) Bureau
                                                                                     The Bureau shall establish an Office of Minority and
                                                                                     Women Inclusion not later than 6 months after the
                   Maintain an Office of Minority and Women    12 U.S.C. §           designated transfer date established under section 5582
Statutory office   Inclusion                                   5452(a)(1)            of this title.
                                                                                     The Director of each Office shall develop and implement
                                                                                     standards and procedures to ensure, to the maximum
                                                                                     extent possible, the fair inclusion and utilization of
                                                                                     minorities, women, and minority-owned and women-
                                                                                     owned businesses in all business and activities
                   Prioritize minority and women-owned         12 U.S.C. §           of the agency at all levels, including in procurement,
Civil rights       businesses and activities                   5452(c)(1)            insurance, and all types of contracts.




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